Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Pagelofi17 PagelD#: 7

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Lounited: States’. attomey ,

‘|-Chie£, Criminal ‘Division

‘| MARK A.. WILLIAMS (Cal...Bar No, 239351). ,

3 Special Attorney. Appointed . Under 28 U.8.C. § 515
{| DENNTS-" ‘METCHELL (Cal; Bar No. 116039) . e
Special, ‘Attorney Appointed - Under 28 U.S.C. § 515

 

a

WILLIAM P, “BARR ; ,
Attorney. General of ‘the | United states
NICOLA T. HANNA oa

“BRANDON D. FOX. -. *
‘Assistant | United ‘States Attorney

_ 1300 United: States” ‘Courthouse

‘312° North Spring Street -

‘Los Angeles, California. 90012.

Telephone: (243) “89433359 / (213) 8542484 :

A ‘mark. a, williatis@usdoj.gov Wer
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| ONEPED STATES prstRtcr court DISTRIC Al |

 

 

united ‘states Attorney’ 8 Office ‘for the Central District of

BOR THE DISTRICT OF ‘HAWAII’ ne
‘ONTTED STATES OF AMERICA, ‘| Case No. CR 1 9 00162 JMS
‘ we Plaintif®, 2” PLBA AGREEMENT FOR DEFENDANT
MONSANTO COMPANY -
V. ee
MONSANTO COMPANY, |
Defendant...
Boy This. constitutes. the’ binding plea agreement between

defendant. Mansanizo COMPANY (“defendant” ox Monsanto”) and the

california,’ acting as Special Attorney in. the District of Hawaii
(“the UsAO") , in ‘the: above-captioned case, This agreement is
Limited ko the. USAO.. and gannot bind any other federal, state, local,

or foreign prosecuting, ‘eniforcenent, administrative, or regulatory

authorities te

 

 

CLERK, U.S. a eee

 

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Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page 2 of 17

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7 | the court appear and plead guilty to count, three ‘of the three-count

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_ RULE. Ui te) (1) (C) ‘AGREEMENT

Bet. béfendant understands that this agreement is enka into

| pursuant: £0: ‘wédexal® Rille ‘of cramiinal Procedure. 14(e) (1) (6) +

[Rocordingly, defendant. undexbtands ‘thats Ag ‘tthe court determines:
that dt wALL not accept this. agreement, or ‘the aédotipanying beferred |
| Proseéution: Agreenent; absent ‘a. breach: of this agreement.’ by

defendant - prior to that determination. and whether or not defendant

elects to withdraw any guilty plea entered pursuant to this..

agieement, ' this agreement. and the Deferred Prosecution Agreement

will, with- the: exception of paragraph 18 below, be rendéred null and

| void and . beth defendant, and the: USAO will be relieved of: their

obligations undex this agreement and the Deferred Prosecution
Agreement. Defendant agrees, however, that if defendant breaches

this ageeement prior te the Court’ s determination whether or not to

‘accept this agreement, the _breach provisions of this agreement,

16 paragraphs) 20 and. 21 below, ‘ wild conttol, with the result that

defendant wild riot’ be able to withdraw any guilty plea. entered

pursiant te this: agreement the USAO will be relieved of all of its

obligations. cundex this agreement, and the court! s failure te follow
any recommendation OX request: regarding sentence set forth in this
agreement will not provide a basis for defendant to withdraw

defendant’ s- quilty plea,
DEPENDANT" S- OBLIGATIONS

a Defendant agrees tor
. ai” Give up the right to indictment by a grand Jurys nea

at the earliest opportunity requested by the USAO and provided by

Information; in the: form attached to this agreement as Exhibit A or

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PagelD #: 8

 

 
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25 og the: Infoxmation, .which are subject to the accompanying Deferred

ng | Prosecution ; ‘Agreement.
27 ‘Agreement between defendant and the USAO, filed concurrently with

28.

f

 

2S 4 oO ou...

: fa , substantially. similar form, charging defendant | with - ah awed
: | spraying of a banned pesticide in violation. of. 2. U.S.C,
ss. 1363 (a)(2)(K) and: 1361 (bb) (1) (B) xy % S

b) Not contest facts agreed to in this ‘agreement and: ‘the
accompanying Deferred Prosecution Agreement .?

“ay Abide: by avi: agreements regarding sentencing

contained’ cin this agreement | vad | the accompanying Defariéd

 

prosecution: agieenent, and. ‘affirmatively “recommend to the ‘court that |

   

ee impose. ‘sdnterics An accotdanice with’ ‘paragraph 12 of this

agreement,

a) Appear for all court appearances, obey all conditions

‘of any-bond, and obey any other ongoing court order in this matter.

-e) Not commit “any federal, feldny or ‘misdemeanor offense
or state felony offense; however, offenses that would be excluded

for ‘sentencing, purposes. aindex: ‘united States Sentencing Guidelines

("0.8.5,6." ox “gentencing Guidelines”) § 4A1,2(c) are not within

‘the scope of this agreement. .

£) Be truthful at all times with Pretrial Services, the

United. States: Probation Office, and the Court.

og) “Pay they ‘applicable special assessment ‘at or before
the time of- sentencing: unless: ‘defendant: Jacks the ability to: pay and.
prior ‘to sentencing submits a completed financial statement - on a

Eorm tebe provided: by the USAO, .

 

 

+ “Defendant | has not agreed to plead guilty to counts one and two

2-All of the provisions - set forth in the Deferred Prosecution

this agreement, are incorporated herein by this reference,

3

PagelD #: 9

 

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Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page 4 of 17

 
 

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Pensa: agreement... ‘Such ' Tegal dociiment (3) “shall designate a company

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24 || applicabile,. shall provide: the USAO and ‘the United States Probation
25°
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“atid aff tinatively recommend

 

   
    
  

ium USAO/S. OBLIGATIONS |

 

 

4, “the sx agree

| accompanying Deferred Prosecution Agreement.

by “Abide by. all agreanents regarding sentencing

     
   

tained in: this agr arierit:

 

raccordance with’ paragraph 12 of. ‘this agreement.

CORPORATE AUTHORIZATION

5: " sbetendant represents that it is authorized to enter into

this agreement. - On’ or. before the change of intta hearing pursuant to |.

this agreement, defendant’. ‘shall. “provide the USAQ and file with the

    

Cotirt a. notarized. Legal: odin it (3) certifying’ that defendant. ae |

   

authorized. to enter into and ‘comply: with AlEof ‘the provisions of

representative who As: authorized to. take the actlons’ specified in

this agzeement, and: shall ‘also state that all L legal formalities for

such’ authorizations have bean: observed,

ORGANIZATIONAL CHANGES AND APPLICABILITY

6,°. This. agreement. shall: bind defendant, its successox,

entities (ae any), ‘parient companies, and. arly other person or entity

that assumes: the liabilities contained herein ("successors- in-

interest”). ‘Defendant, or its successors-in- -interest, if

Office™ ‘fox the. pisteter. of. Hawaii: with, xeasonably prompt notice of

any name change; : ‘business Reorganization, ‘sale OL. “purchase of

  

assets," divestiture: of asseta,. imilar aétion: Ampadting their

“abslaty to pay che. fine: or. atfecting this: agreement. NO: change in

a

 

PagelD #: 10

a) Not contest: ‘Facts agreed ee in ‘this agreement and the.

the Deferred: Progeciition Agreement, ,

to: the ‘ourt that’ $E: impose sentence dn |

 

 

 
Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page 5 of 17

  
 

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1s esues, defendant, a conmereial: applicator: of. a ‘restricted use

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|-name,- change -in-co

 
 

 

    

porate 6 or individual” control, “businéss

    

reorganization, shahige: in ownétship, therger, change: Of Legal status,

‘| sale. or purchase ‘of -assets, ox similar action shall alter

defendant’ s- ‘responsibilities unde | this agreémant. pefendant shall

4 not. engage. dn any action. to seek to avoid the obligations and |

conditions. set forth in this. ageesment

. : “NATURE OF: CHE OFFENSE ae
Te Defendant ‘understands that for defendant: to be’ galley of

j the crime charged in count - three o£ the ‘three-count Information,

that is, unlawful: spraying of a banned pesticide, in violation of 7

U. S.C. §8 1364 (a) (2) (K) and 1361 (b) (1) (B). the following: must: be.

pesticide,, ‘kndwingly. sprayed, a. restiricted vse! ‘pesticide that. “haa

been. banned. by ‘che: Environmental Protection ‘gency pursuant to. ‘a.

‘caticellatian order.

PENALTIES:

-.8.. "Defendant understands ‘that the statutory maximum sentence

‘that the Court can. impose fora violation of 7 U.S.C.

§§: 1364 (a) (2) (K) and 1362 (b) (1) (B), ds: "9 Bvenyear period of
probation}. a fire of ‘$200,000 or twice the gross: “gain or gross ‘loss
resulting. from che’ offense, vhidhewer is. ‘greatest and a mandatory

special assessment of $125.

SUSPENSION : REVOCATION, AND, DEBARMENT

   

- oo . Defendant ‘undexs ands that iz. defendant holds any.
degulatory Licenses, on ‘permits,’ the: conviétiton ‘in this. odse may

result in the ‘suspension; or revocation of those licenses ‘and

27 ‘pazinits, The. usAo makes. ‘no. Fepresentat lon. or promisé concerhing

stispensigh “or / debazrient ‘Of. defendant from, contracting with: the

a)

 

PagelD #: 11

 

 
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united ‘sta pes or. wth | any ) office, agency, ‘of departiment ‘thereof.
suspension: ‘and debaxment: ‘of organizations: convicted under various

‘| federal environmental protection’ ‘and criminal’ statutes is a

i discretionary administrative action solely within the authority of

4 the federal) ‘contraéting. agencies. Defendant understands | that”

ck unanticipated, collateral consequences, such as this: wid. nor: serve - ‘as

‘grounds to withdraw ‘defendant! 8 guilty pléa.
FACTUAL BASIS.

ee eta i win FB

“LO. - Defendant admits that defendant is, in fact, guilty of the
‘offense to weiich defendant Ls agveeing to. plead guilty, Defendant

 

“ard ‘and the “USAO: agree to: the statenient of facts attached hereto as
‘12. Exhibit, B and. ‘incorporated. by reference herein, and agree that the
| 43- statement of facts. is’ sufficient to support the ‘plea. OL | guilty. to |
14-1 ‘the charge An. count three of the Information described dn: this

15] ‘moredneist’ as: well as’ the: ‘sentence, conditions of eecobeiion,”

16 | compliance program, fine, and community service payments specified
ainda in ‘this. agreement. The: attached statement of facts is not meant to
: 1a: bea complete zecitation of. atl ‘Facts relevant to the underlying

_ 19} oriininal conduct or all facts known to either party that relate to
20.{ that conduct. i
gk e J a . , SENTENCING AGREEMENT

23. |” ads. ‘Defendant ‘and: the USAO . agree and stipulate that, Eur stare

 

£0 ‘United states . ‘Sentencing ‘Guidelines ("U,5.8, G ”) SS gc2.1° and

 
 
 

23:

 

ne setitencing: giidelines are not applicable. in deeexuiniing
rie. fox. an.. organization violating: statutes. relating to the

26'| envixonnent,, but that ali other sections of Chapter. 8 of ‘the’

oF U. Si 8, G. “are applicable in. this case, “including the provisions

“2B. degarding probation and restitution. Detendait understands that in

 

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, : inoluding, but. ‘not. Limited to, the conditions of pRobation | set .forth

 

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-by. certified. check or wire transfer to the Clerk of the United

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26;
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{ ‘court

 

; ‘determining: defendant’ s sentence, the Court is required ts consider

: jthe. factors | set forth in 18 Ui Ss. c § 3553 (8), Aneluding, the kinds of.

‘sentence atid senteheing’ ange’ -eeitablished under the Sentencing:

  

Guidelines: Defendant agrees! “that at ‘the time of sentencing’ the ~

 cohsidex: any ‘ificharged | ‘conduct in determining, the :

Jepphicable ‘Sentencing. Guidelines range, ‘the propriety an extent’ of.

pany departuie from that tande; and the sentence: to ‘be tnposed after

consideration o£ the. Sentencing Guidelines: ‘and all otnee relevant

: factors under 18. U, S$: Cc, 8 SRSa {et

an Parsuant to U. $8. G. 85 abi. 1 and 8D1,2 and the factors

‘set forth in Title 18, United States Code, Section 3553(a),
including the’ nature and circumstances of the offense and the
history and characteristics ‘of the defendant, the need for the
sentence imposed to reflect the seriousness of the offense, to
‘promote: ‘respect’ ‘foe ‘the ‘Law to- provide Suse ‘punishment: for the
joffense,. to. afford adequate deterrence to ‘eriminal conduct, and ‘to.
| protéct the public’ ‘from: “Eurther: cttties | of the defendant, the . parties |
agree: slide defendant shall: be sentenced as follows:

a) probation: Defendant. shall be sentenced to a two-year

term of probation with conditions to be fixed by the Court,

yen exhibit: Cc ta. this ayresnent:

, ao By" ‘Cximinal Fine: Defendant shall pay the ‘statutory
anima’ Gefvitnal fine of $200, 000. The criminal’ fine shall be paid

States Digtrict Court for the District of Hawaii, and confirmation

of the completed-wire transfer or certified check shall be provided

 

 

PagelD #:

 

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bb. defendant ‘to the USO, . within two. weeks of the date a sentence |
is’ ‘Amposed. ,
a) Community Service Payments: Defendant shall -pay a

} total oF $4, 000, 000: in the form of comnmund.ty service payments to the.

 

 

 

| Hawai government: entities as: described in ‘the conditions of

 

| probation set forth’ in’ txhibit ‘C to this agresitent.

dy Spécial Assessivent Defendant “wha. pay a total

special assessment of e125.

2 Oo a - WwW WN at s

'e) Deferred Prosecution Agreement: Defendant shall

comply with the terms of the felony Deferred Prosecution Agreement

BE
- 3

filed concurrently, with this agreement.

   

VER: “op. CONSTITUTIONAL RIGHTS

 

12. I
13:} a: Degeiidant. widerstaiids that by" pleading guilty, defendant
14. gives ‘up. the following, xights:
15 ca) The right to persist in a plea: of not guilty.
16 > b) The right ‘to a speedy and public trial by jury.
1}: e). ; The right to be representéd: by counsel at trial.
48 :[ Defendant understands, however. that; defendant retains the. right to.
19.|)be reptesented by counsel at. every other stage of the proceeding.
20} ay The right to be ‘presumed ‘dnnoeent arid to have the
21 | burden of proot placed on the government ‘to prove defendant guilty

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event a a. zeasonable, doubt,
a3 e) The. ight: to eonfxont nea cross- -exanine witnesses
24 [against defendant. : | .
” ; . eee The: xight to. testify and to “present | evidence in

Jorpositton: to the charge, including the right ‘to compel the

NN
oa SD. j

| attendance: of. witnesses to testify,

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“gy “any and. vall nighie to: porsie any / af fixmative a

 

: defenses, Fourth Anéhdnent + oy: ‘Bitch Amendment: clains, and other

 

: pretrial tiot ions’ that have. been; filed or .could be filed,

. _ _ WALVBR- OF STATUTE OF LIMETATIONS .
14, Having been fully advised ‘by. defendant! s attorney
/xegaxding application’ of. the statute: of ‘Limitations to the offense |
| ‘to ‘which defendant: is pleading guilty, ‘defendant hereby knowingly,

voluntarily, an intelligently waives, ‘relinquishes, and: gives up:

SF on. oe WS

-(a) any right that defendant aight have not to he prosecuted for the

‘offense to. which’ defendant ie pleading guilty becatise of “the”

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Re ae

eusizadien of -etecbearute of limitations for the offense prior to’

the filing of the Information alleging the offense; and “(b) any

ee
Ww. oN

‘defense, claim,. 62% argument ‘defendant could raise or assert that

kK .--
&

"| prosecution of the offense to which defendant is pleading guilty is

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on

 

 

barred by. the expixation of, the applicable statute .of . AREER ONE
16 pre~indictinent. delay, -or any speedy trial violation,
17-/ - ‘WAIVER or APPEAL OF CONVICTION
18. 15. Defendant. understands that, wath the exception of an-
19 | appeal based on. a claim that defendant's guilty plea was
20 involuntary; by pleading guilty defendant is waiving and giving up
atk ‘any. right to appeal -defendant’s conviction on the offense to whieh
22 J defendant ig ‘pleading guilty,
23° 4! LIMTTED, MUTUAL WAIVER OF APPEAL. OF SENTENCE
ax ‘ 16. Defendant "agreds: that, provided: the Court imposes | the
254 Sentence specified dn, paragraph 12, defendant gives up the right to
26. agpent any. portion of ‘the sentence,
28°

 

 

 
Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page 10 of 17

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of ali septal wad certifications by defendant, defendant’ 8' counsel,

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| epee any portion of: ‘thie: “sen ence.

  

‘hai ani. finding that’ entry into t is

 

or” any avidly ae

22 |
23.

 

1. ~The usao agrees. ‘that, provided the Court imposes the

4h sentence. specitied in. patagraph 22, the: USAO.. Geaee We ‘Hts eight to

   

-RESULE pea WITHDRAWAL OF. quiniy PLEA ©

 

‘ae. betendant gress | :bhiat L£, after: snteriiig ‘the Gael plea

pursuant, to tis - agreement, “defendant seeks to wheres and succeeds

Et 8 guilty plea

  
 

ny basis’ dther than a

 

eéement was. involuntary,

ta): the usa wild be: ‘relieved: of, aul ‘of. ite obligations undex

   

this agreement; : arial) should the: ‘USA0" choose: t0 pursue any’ ‘charge

 

  

ditindatrative, or ‘reghlatory ‘action ‘that was either

dismissed: or not Filed as a: seeaonuich of this ‘agreement, then (i) any-
‘applicable. statute of Limitations will be tolled between the date of
defendant?.s signing, of ‘this agreenént: arid: the filing commencing any

such action; and | a) defendant. waives: ‘and: gives up all defenses

based on. the. statute of Limitations, any claim of pre-indictment

17 -delay, or any. apeedy trial claim with respect to-any such action(s),

26 fexcept | to the: extent that such. deteihes existed as of the date of

‘defendant’ ». signing this agreement.

EFFECTIVE, DATE OF. AGREEMENT

and government counsel,

 

- BREACH: oF AGREED:

: 205. ‘Defendant, agrees that if defendant; ‘at any time after the’

sagittata? of. ‘this ‘agxeeitent: ‘and execution: of all required

apd fleabioté by defendant, defendant’ = séuneil; and government

28'|-counsel, knowingly violates or fails: to perform any of défendant’s

: :
BE 10

PagelD #: 16

9 "this nocedment is ‘effective: ‘upon’ signature and: eueentlben so

 

 

 

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Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page 1lof17 PagelD#: 17

 

   

 

 

 

         
 

; x obligations \ under: this’ agreshent (Sa breach"); the UsAO: may” declare
. 2'bthis agreemint:! ‘breached “ALL: of? defendant!.s obligations are |
3|inisterial, a a ‘single, breath of . this’: agreement is sufficient Epr* the, .
A; USAO “to ‘asblaxe’ a ‘prédich, - and. defendant. : shall not be “deemed: to have
|S [eured 2 a: ‘bieach without the eupeess agreement: of the USAO. in. meine
ce] re. the UA0 declares this:-<greeinent breactied, and’ the Court. finds |
“7 fsiion a a preach. £0 have: ‘Sécheed, then: (ay if defendant thas
§ | previously. encased ‘a guilty plea pursuant to this agreetient, |
g | defendant will: not be able to withdraw the guilty plea, (b)’ the USAO
LO | will be relieved of all its obligations under. this agreement, and
“44 (c) the. Gourt’ s, falluze’ to follow any -recommendation or request. ,
12 | xegarding-s ‘Sentences set ‘forth | in this agréenent will not provide a
13 [basis for defendant’ to" withdra iguiey” plea.
14]... ae Foulowing ‘the’ court “siading of a tnowing breach. of this
15° agreement: ‘by defendaitt, ‘should the USAO choose. to puEeUs any charge
16 | ox any civil, administrative,” Or. regulatory aetion ‘that wag either
7 dismissed or not filed.as a eanuLe of this agreement, ‘then:

hy "Defendant agzees: ‘that any. applicable statute of

 

9: [ Limitations. is tolled between the date of defendant's signing of

 

30'| this agreement: and the filing commencing any such. action.

24 b) Defendant waives and gives up all defenses based on
22‘lthe statute of Limitations, any claim. of pre-indictment. delay, or
23 any speedy. trial claim with respect to. any such action, except to

24: thé extent: that. such: defenses: existed as ofthe date of, defendant’ s

   

-25- sd greément,
26 eh " Dégendant agrees. thats |

 

(4) cany~statements made by
27 defendant, - undex, ‘path; at the. guilty plea. hearing “(if ‘such. a. hearing.

28 occured’ prior to- the breach) le the agreed to factual pasis

 

 

 
Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page12o0f17 PagelD#:

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J exon such. statements, shall- be’ admisgible against defendant in any ,
such action mgeinst defendant}. and defandant waives and: — up any :
claim under ‘the united» ‘States ‘Constitution, any statute, Rule 410 of
‘the. Federal Rules. of Evidence, Rule 11(£) of the Federal Rules - of. |
|. Criminal Procedure, ‘or any other federal rule, that . the statements
Jor any. evidence derived | from the. statements’ ‘should be suppressed ox

jj are inddnissible.
10 |
Faccept any. of the USAO! s sentencing recommendations ox ‘the parties’

14.[ understanda that the’ Coust wilh ‘detertine. the: facta,” sentencing
15 | factors). and: ‘other. dorisidexations: elevant to ‘sentencing and: will

decide fox Ateel£. whether “to accept and: agree’ ‘to be bound by this

to the United States Brobation Office ‘and the Couxt, (b) correct any

(24 | Guidelines calculations and the sentence it chooses to. imposa are
25.
ealoulations: and seritence’ xeferended in paragraph 12 are: consistent
5 ith the: facts of this’ éase. While ‘this. paragraph ‘pexmits: both the

20°] USAO ‘and defendant, ‘to abate full and: cofiplete. factual information

 

| statement attache to this: agreenent and day “any evidence derived |- -

 

. ‘COURT AND: ‘PROBATION: OTEICE NOT. PARTIES
22, Defendant understands that the cauKe and the United States

Probation offices are not -parties to this’ agreement and need not

‘agreements: to facts; sentencing. factors; or! ‘the: sentence. Defendant :

agreement.

23. Defendant understands’ that both defendant and the USAO are
free to: tay’ supplement. the facts by supplying relevant information
and : all fadiat snisatatenente relating to- the: Court’ s: sentencing
Guidelines “Galculations and determination OF sentence, and. (c) argue

on appeal and collateral review that the Court's Sentencing

not, error, ‘although , gach: party agrees. ‘to maintain its view that the

| ii 7 8

 

 
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“to the. United States Probation Office and the Cont, even ae that

 

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23. factual Anfontiation may be viewed as. inconsistent ‘with the facts.
3 | agreed to in this agreement, this paragraph. does not affect =
i'[detendant? a” and" ‘the. USAO! s “obligations not to contest the faete
5 [agreed to. at thie: agresment

°G : Nici NO ADDITIONAL AGREEMENTS

- oa. befendant - -undexstands that, except as set forth- herein,

a lane’ in the parties! ‘tolling. agreements and Deferred Prosecution

j | Roxeement;, there: are no. promises, understandings; or agreements

“40 between, thé’ ‘USAC, and defendant | “oF defendant! s attomey, and that. no-
i. additional: promise, understanding, or: agreenent may be entered: ‘Ante.
“12 funtess an writing signéd by- all ‘parties oF on the record in eourt.

13: |: //. |

va fie

‘as iv.

 

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uh ELBA AGREEMENT “PART OF THE GUILTY PLEA HEARING

Pe)

3. ‘part of the: tecord of defendant! s guilty plea hearing as if the

ach rentire: vagresinent had been: mead into. ‘the Hecord of the proceeding:

> 5 snGRieD: ah nccebren

6- WILLIAM P, (BARR. - —
fe Attorney General of ‘the United States

 

2 7 290 The: parties: Boxee, that this agreement wilh be considered

PagelD #: 20

 

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e vee Baten Retoriey - , os,
“ORE re 24 i a .
‘ui liek A WinEEANs bate

. DENNIS, MITCHELL

12 |Special Attorneys: ‘Appointed: under
- 2B U,S,C. § 515

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8} ea Sn e619
16 aR SHAFFER ae Date

17 |'Head of HSE & Real Estate Law for Crop Science

18'| authorized’ Representative oF

_ (fbefendant -

_ 19. [Monsanto company
20/4. |
aly.

 

 

a aioe By “BISHER 4 Bate «/ 7
23 Attorney ‘for: befendant a ‘
aa MONSANTO: COMPANY

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26." > - _
a \eteEtAN i WARSTAD. a Date’
aL Attorney “for :Defendant’ . i

ig a: WONSANEC, COMPANY

 

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pec EET EA ON RM ES SES SAY eT AE tS EGET PM
Case 1:19-cr-00162-JMS Document 3 Filed 11/21/19 Page 15 of 17

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,Or Ba am

‘12

14);
as
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this agreement. JI am satisfied with the representation of

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4 21}
3 uneement, “and not for any ether reason.

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25° :
ae Head of: HSE & Real Estate Law For Crop Science
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WML eR:

Jundexstand ‘the texms. of. this, agreement, and. J

a _GERTIPTCATTON OF DBEENDANT
: have ‘been’ authorized by defendant. MONSANTO COMPANY.

|(wdezendant”) ‘to. enter into this agreement on behalf of defendant.

Te have read this agreement: tn its. entirety. ‘T have had enough: time

[to review and consider this. agreement, and I have carefully and

f thoroughly. discussed every paxt ‘of it with defendant! s attorney. r

      

‘those terms: of behait of defendant. I have. discussed the. evidence

   

hsdéfenda ts

    

“pif of defendant! 5. ‘xights, of possible pretrial! motions that might be

11 | filed, of: possible defenses that might ‘be asserted either prior to
tae at trial, of the sentencing factors set forth in 18 U.S. Cc.

: 13 |S 3553{a), of relevant Sentencing Guidelines provisions, and of the

conseqtiences of entev¥ing into this agreement. “No promises,

inducements, ox representations of.any kind have- been made to me ox.

to defendant other than those contained in this. agreement. No one’

has threatened. or forced me or defendant in any way to enter into

defendant’ s attorney. in this matter, and I am pleading guilty. on

behalf of defendant because. defendant is guilty of the charge and

wishes. ta take advantage of. the _promises set forth inthis -

  

A Sfp, | | 2? : 2 fs

mE SHREFOR Date

Authorized’ Representative of

“Defendant
‘MONSANTO COMPANY

 

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PagelD #: 21

voluntarily agree to

eto: ney “and. defendant’ s. attorney ‘has advised me

 

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‘of.

    
 

 

. : cunntiticarton. ‘OF: DEFENDANT'S NTTORNEY =
oT amt defendant: MONSANTO COMPANY 3. -attomey. . i ‘have , carefully

Vand ‘thoroughly: ‘discussed every part of: this agreement with the
J authorized representative ‘of. my elient. Further; I have fully

padviséd my; eldient and its. authorized representative of. its rights,

possible. mots ‘that might. be filed, of. possible defenses" that

[might ‘be asserted either prior ‘to or at trial, ‘of this’ sentencing,
factors we ‘forth in ie U.S, a § 3553 (a), of relevant. ‘gentencing

. Guidelines provisions, and of the consequences of entering into this: |:

agreement.’ To my knowledge: no promises, inducements, or.

| sepresentations of any . kind have been made to my client other than .

‘Petose® ‘contained ‘in. this s-agesenent ‘no one has threatened or forced

 

 

| | decision, to enter inte, ti Agreement 4s. an ‘infoxmed. and voluntary.

  

[ones anal the factual paate- ‘set forth ‘dn. ‘this agreement. ‘ds sufficient |

es support my “eldent!s eatey BE a guilty: plea pursuant to. thie

 

 

 

‘agreement, .

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Sttorney for. Dégendant mt

*'y MONSANTO COMPANY

 

 

 

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CERTIFICATION OF DEFENDANT’ S ATTORNEY

I am defendant MONSANTO COMPANY’s attorney. I have carefully
and thoroughly discussed every part of this agreement with the
authorized representative of my client. Further, I have fully
advised my client and its authorized representative of its rights,
of possible motions that might be filed, of possible defenses that
might be asserted either prior to or at trial, of the sentencing
factors set forth in 18 U.S.C. § 3553(a), of relevant Sentencing
Guidelines provisions, and of the consequences of entering into this
agreement. To my knowledge: no promises, inducements, or
representations of any kind have been made to my client other than
those contained in this agreement; no one has threatened or forced
my client in any way to enter into this agreement; my client’s
decision to enter into this agreement is an informed and voluntary
one; and the factual basis set forth in this agreement is sufficient

to support my client’s entry of a guilty plea pursuant to this

 

agreement.
Yb Go ufye/2014
WILLTAM M. HARSTAD Date

Attorney for Defendant
MONSANTO COMPANY

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